     Case 1:20-cr-00306-TWT-CMS Document 373 Filed 03/09/23 Page 1 of 2




                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


 UNITED STATES OF AMERICA,

     Plaintiff,                            CIVIL ACTION FILE NO.
                  v.                       1:20-CR-306-TWT
 ANTONIO DESHAWN DANIELS
 also known as
 Antonio DeShawn Daniels
 also known as
 Freckleface Shawn
 also known as
 Pecas,
     Defendant.


                                     ORDER


      This is a criminal action.      It is before the Court on the Report and

Recommendation [Doc. 362] of the Magistrate Judge recommending denying the

Defendant’s Motion to Suppress [Doc. 153]. The Magistrate Judge correctly found

that Daniels lacks standing to challenge the legality of the Clarendale Drive Warrant

and the Fairington Parkway Warrant. And contrary to Daniels’s bare-bones claims,

TFO Noe’s affidavit contains ample facts to support a conclusion that evidence of

the crimes under investigation would be found at the Whitehall Street location and

at the two Atler at Brookhaven apartments. It is evident that law enforcement
     Case 1:20-cr-00306-TWT-CMS Document 373 Filed 03/09/23 Page 2 of 2




conducted a detailed, thorough, and lengthy investigation beginning with the seizure

of drugs, money, and a ledger identifying the scope of Daniels’s drug sales dating

back to 2018. That information was then corroborated by months of federal wiretaps,

surveillance, and seizures. Each intercepted communication and drug transaction

bolstered facts in other conversations and confirmed Daniels’s involvement in a drug

and money laundering conspiracy using those locations. From these facts, it was

reasonable to believe evidence of that conspiracy would be found in the various

locations Daniels used for his drug-dealing activity. The Defendant’s Objections to

the Report and Recommendation are without merit. The Court approves and adopts

the Report and Recommendation as the judgment of the Court. The Defendant’s

Motion to Suppress [Doc. 153] is DENIED.

                        9th day of March, 2023.
      SO ORDERED, this _____


                                             ___________________________
                                             THOMAS W. THRASH, JR.
                                             United States District Judge




                                         2
